             Case 3:14-cr-03327-DMS                      Document 66                  Filed 02/20/15          PageID.200             Page 1 of 2

   7   A    45B (CASD) (Rev. 4114) Judgment in a Criminal Case
                Sheet 1
                                                                                                                                 FILED
                                                                                                                                  FEB 2 0 2015
                                               UNITED STATES DISTRICT COlm T
                                                                                                                   CLERK, U.S. OISTR:·-:T COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA                              SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                BY                          DEPUTY
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CKIMINAL (ASH
                                         v.                                           (For Offenses Committed On or After November 1, 1987)

                          JORGE RIOS-OVALLE (1)                                       Case Number: 14CR3327-DMS

                                                                                      Morgan D Stewart FD
                                                                                      Defendant's Attorney
     REGISTRATION NO. 48393298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _2_0_f_t_h_e_In_d_i_ctm_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(2)(B)(iii)              BRINGING IN ILLEGAL ALIEN WITHOUT PRESENTAnON                                                         2
  and 18 USC 2                            AND AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                 2         of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s)

 1)(1
 ~
      Count(s)        . .                                   -------------------------------
                                                                     D IVI dismissed on the motion of the United States.
              _r_e_m_a_Ill_Ill..;;;g'--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                      are~

 181 Assessment: $100.00

  18] Fine waived                                   D Forfeiture pursuant to order filed ---------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               February 20,2015




                                                                              HON.D
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                14CR3327-DMS
                                                                              -----------------------
       Case 3:14-cr-03327-DMS                        Document 66    Filed 02/20/15       PageID.201              Page 2 of 2
AO 2458 (CASD) (Rev. 4114)    Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                            Judgment -   Page __2
                                                                                                                ........_   of   2
 DEFENDANT: JORGE RIOS-OV ALLE (1)
 CASE NUMBER: 14CR3327-DMS
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FIFTEEN (15) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Dffi _______________ Da.m.                                   on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                 to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                        14CR3327-DMS
